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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )                CASE NO. 8:09CR29
                                           )
                  Plaintiff,               )
                                           )      ORDER RE: TRIAL PREPARATION
           vs.                             )         (CRIMINAL JURY TRIAL)
                                           )
DENNIS WIESE,                              )
                                           )
                  Defendant.               )

1.   PRETRIAL MOTIONS:

     A.    Continuance:

           Any motion to continue a trial must be accompanied by a supporting affidavit
           and a proposed order, and delivered to Magistrate Judge Gossett.

     B.    Evidentiary Hearings:

           Please notify my chambers immediately of any pretrial motion requiring an
           evidentiary hearing outside the presence of the jury. Motions must be in
           writing and accompanied by supporting affidavits.

2.   THE FOLLOWING MATERIAL MUST BE SUBMITTED NO LATER THAN FIVE (5)
     WORKING DAYS BEFORE THE SCHEDULED DATE OF TRIAL.

     A.    The following documents shall be filed electronically with the Clerk of the
           Court by government’s counsel: trial brief, witness list, exhibit list, proposed
           jury instructions and verdict form(s). The defendant is encouraged to submit
           such materials to my chambers as well, and the materials so submitted shall
           not be disclosed to the government unless the defendant specifies otherwise.

     B.    In addition, each party’s jury instructions, verdict form(s), witness list, and
           exhibit list shall be e-mailed as attachments in Wordperfect format to the
           chambers at the following address: smithcamp@ned.uscourts.gov.

3.   DISCOVERY MATERIAL:

     A.    Depositions:

           Proponent: The proponent of a deposition to be used at trial shall deliver a
           copy of the deposition to my chambers. If less than the entire deposition will
           be offered, the proponent shall deliver: (1) a list or index designating by page
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            and line(s) the testimony to be offered, and (2) a copy of the entire deposition
            with highlighted parts to be offered.

            Objections: A list or index of objections to another party’s designated
            deposition testimony shall be delivered to my chambers and shall identify by
            page and line the location of the objection and shall identify the precise
            nature of the objection.

     B.     Videotaped Depositions:

            Proponent: Videotaped depositions shall be delivered to my chambers as
            stated in the previous paragraph. The proponent shall provide a transcript
            with the prospective testimony indexed and highlighted.

            Objections: A list or index of objections to another party’s designated
            videotaped testimony shall be delivered to my chambers. The court may
            require editing of the video tape in response to pretrial rulings on objections.

4.   EXHIBITS:

     A.     Court’s Copies:
            Each proponent of exhibits shall prepare a three-ring binder containing a
            copy of each exhibit to be offered. The binder shall be organized by dividers
            and tabs for quick retrieval of an exhibit during trial, and shall be delivered to
            chambers no later than five days before the scheduled date of trial.

     B.     Original Exhibits:
            Exhibits shall be properly listed and identified on the exhibit form supplied by
            the Clerk of Court’s Office, also available at the court website:
            www.ned.uscourts.gov/local/local.html.

     C.     Marking of Exhibits:
            All exhibits must be pre-marked with stickers that indicate whether the
            government or the defendant is offering the exhibit. The government’s
            exhibits will begin with number “1.” Defendant’s exhibits will begin with the
            three-digit number rounded to the next hundred after the government’s last
            exhibit.

5.   WITNESS LIST:

     A party’s witness list shall include the full name and address for each such witness.
     Witnesses who do not appear to testify when scheduled will be considered
     withdrawn.



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6.   REQUESTS FOR INTERPRETERS OR COURTROOM EQUIPMENT:

     Please notify the courtroom deputy at least a week in advance if the services of an
     interpreter will be required for a hearing or trial. Please notify the courtroom deputy
     before trial if you request the use of the ELMO evidence presenter and also if you
     need to schedule a time for training. More information is available on the web at
     www.ned.uscourts.gov. Court Technology installed in Judge Smith Camp's
     courtroom is as follows: a large flat screen television, attorney & witness screens
     have annotation abilities, jury box has monitors for viewing evidence, two digital
     document cameras, video conferencing, telephone conferencing, VCR/DVD player
     (please check your file types), laptop hook ups in counsel tables, an easel and
     headsets for the hearing impaired.

7.   CONDUCT OF TRIAL:

     I will meet with counsel in chambers at 8:30 a.m. on the first day of trial. Trial will
     commence at 9:00 a.m. each day, unless otherwise ordered. If the defendant elects
     to change a plea, counsel for the defendant should notify my chambers immediately.
     The court will conduct a general voir dire examination. Counsel may supplement,
     but not repeat, the court’s voir dire examination. Any suggested questions for voir
     dire by the court shall be delivered to my chambers. The court may impose a time
     limit on counsels’ voir dire. Examination of witnesses will be by direct, cross, and
     redirect examination, but not recross unless authorized by the court.

8.   PLEA:

     It is the responsibility of the counsel for all parties to notify the court immediately of
     any change of plea. By noon on the Friday before trial is scheduled to occur,
     counsel for all parties shall contact chambers to receive instructions regarding how
     to contact the court when the court is not open for business.

     SO ORDERED.

     DATED this 11th day of May, 2009.
                                                  BY THE COURT:


                                                  s/Laurie Smith Camp
                                                  United States District Judge




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